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October 9, 2018

VIA ECF FILING
The Honorable Vanessa L. Bryant
United States District Court Judge
District of Connecticut
Abraham Ribicoff Federal Building
United States Courthouse
450 Main Street – Annex 135
Hartford, Connecticut 06103

Re:     Graduation Solutions LLC v. Acadima, LLC and Alexander Loukaides
        Index No. 3:17-cv-1342

Dear Judge Bryant:

This firm represents Plaintiff Graduation Solutions LLC (“Plaintiff”). Pursuant to Your Honor’s
request during the last conference, I write to provide an update on the scheduling of the deposition of
Defendant Alexander Loukaides (the “Deposition”).

The parties were able to arrive upon an agreed upon date and format of the Deposition. The
Deposition will be held on October 19, 2018 beginning at 9:00am local time. Mr. Loukaides will
appear at the Deposition via Skype. It is my information that he will be physically located at the law
firm of Titus and Co. located in Hong Kong. Mr. Bagnell and I will conduct the Deposition from my
offices in Rye, New York.

Thank you for your consideration of this matter.

Respectfully submitted,


Jonathan B. Nelson
JBN/abr

cc:     Jeffrey S. Bagnell, Esq.
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